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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


 IN RE: MOTION TO UNSEAL SEARCH                       )
 WARRANTS                                             )       Cause No. 1:25-mc-22-TWP-TAB
                                                      )
 _____________________________________                )



                       Notice of Limited Appearance for Amicus Curiae

         Jason M. Covert of the law firm Taft Stettinius & Hollister LLP, hereby enters his limited

 appearance on behalf of Amicus Curiae, Dr. XiaoFeng Wang and Nianli Ma, in the above

 captioned matter.

         Dated: June 2, 2025.
                                                      Respectfully submitted,

                                                      /s/ Jason M. Covert
                                                      Jason M. Covert, Attorney No. 29268-53
                                                      TAFT STETTINIUS & HOLLISTER LLP
                                                      One Indiana Square, Suite 3500
                                                      Indianapolis, IN 46204
                                                      P: (317) 713-3500
                                                      F: (317) 713-3699
                                                      E: jcovert@taftlaw.com

                                                      Attorneys for Amicus Curiae Dr. XiaoFeng
                                                      Wang and Nianli Ma




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                                CERTIFICATE OF SERVICE

        I hereby certify that of a copy of the foregoing has been filed electronically on June 2,
 2025, with the following parties receiving notice via ECF:

 Riana Pfefferkorn
 353 Jane Stanford Way
 Stanford, CA 94305

 Kathryn E. Olivier
 Matthew Rinka
 Assistant United States Attorneys
 Office of the United States Attorney
 10 W. Market Street, Suite 2100
 Indianapolis, IN 46204-3048

                                                      /s/ Jason M. Covert




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